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                                  JS-0004
                              
                        
          
        
      
    
  

  

  
    
      JS-0004
              John Scott
                  
        Categories
                        
Special Districts and Authorities
              , 
Water Control and Improvement Districts
              , 
State Boards, Commissions, Departments
              , 
Environmental Quality, Texas Commission on
              , 
Public Utility Commission
              , 
Statutory and Constitutional Construction
              , 
Intent
              , 
Rules of Construction
              , 
Water and Water Courses
        
      
            
                  Summary
                      Water Code subsection 12.013(a) authorizes the Public Utility Commission to fix reasonable rates for the furnishing of raw or treated water for any purpose under Water Code chapter 11 or 12. Water Code section 51.305 pertains to specific expenses a water control and improvement district may allocate to certain users. The two provisions do not conflict. Under the plain terms of subsection&nbsp;51.305(d), when an authorized party disputes a water control and improvement district’s allocation assessments and other payments necessary to cover the maintenance and operating expenses of its water delivery system, a petition filed with the Texas Commission on Environmental Quality is the sole remedy. Otherwise, the matter is before the Public Utility Commission.

As this office does not resolve factual questions in attorney general opinions, we cannot determine the nature of the underlying dispute and thus cannot answer your question about which entity may have exclusive jurisdiction to hear it.
      
                          
            Opinion File
                         js-0004.pdf 

      
          
                
        
      
    

          
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    RQ-0478-KP

      
  
                September 06, 2022

      
  
      
      
        Request PDF
                     RQ0478KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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